Martin Saunders v. Commissioner.Saunders v. CommissionerDocket No. 62885.United States Tax CourtT.C. Memo 1957-142; 1957 Tax Ct. Memo LEXIS 98; 16 T.C.M. (CCH) 622; T.C.M. (RIA) 57142; July 31, 1957*98  Samuel E. Fredrick, Esq., for the petitioner. Jules W. Breslow, Esq., for the respondent.  TIETJENSMemorandum Opinion TIETJENS, Judge: The Commissioner determined a deficiency in income tax for the year 1953 in the amount of $382.01. The petitioner filed his income tax return for 1953 with the director of internal revenue for the Brooklyn district of New York. On the return he claimed the following itemized deductions: Contributions$500.00Interest552.00Taxes370.00Medical and dental expenses718.00Miscellaneous285.00 The Commissioner disallowed the claimed deductions for lack of substantiation and allowed the standard deduction. The only question for decision is one of fact, i.e. the amount of itemized deductions which the petitioner may properly claim. At the conclusion of the trial of this case we found as a fact, from the petitioner's testimony and other evidence, that the petitioner had made the following deductible expenditures during the year 1953: Contributions$135.00Interest350.00Taxes328.00Medical and dental expenses320.00 *Miscellaneous65.00*99  Whether these findings will result in a smaller deficiency than determined by the Commissioner will depend on a Rule 50 computation. Decision will be entered under Rule 50.  Footnotes*. This amount represents actual medical and dental expenditures.↩